            Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 1 of 9 Page ID #:1


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       4 Phone: '~~~`~ ~~(,~                                                  ~Y „~1/

       5 PlaintiffIn Pro Per
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~~~ ~ ~                                      UNITED STATES DISTRICT COURT
      8                                  CENTRAL DISTRICT OF CALIFORNIA
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     10               f ~V                                              Case No.: ~('G V I ~ ~~ 3S~ 3                       ~"~ ~s~x~
                                                                                       (To be supplied by the Clerk)
     11                          PLAINTIFF,                            COMPLAINT FOR:
     12                vs.                                             Q~~i~°~'L~v'~~ R~~t'h~,~
     13       ~~ ~~                   ~~ ~                             ~kc~n , v ncl~~~ ~ Ti~-~~ U (
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     15                                                                       ~~r!~ ~ ~-~ ~ ~c ~u 1 ~ti~
     16
     17                                                                Jury Trial Demanded
     18                          DEFENDANT(S).
     19
     20 ~
                                                             I.JURISDICTION
     21
     22       ~        1. This Court has jurisdiction under                                                   ~,       .,
    23
 ~24                                                                                     r-       ~ ~~~ r 4 ~ ~,~~~ vv.~~
            —~~                                                      ~T)      I ~ ~ ~.~ fi
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            Pro Se Clinic Form                                  Page Number
     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 2 of 9 Page ID #:2




 1                                           II. VENUE
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 3               2. Venue is proper pursuant to    2~ ~S~- ~t I(~( ~~
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                                           III. PARTIES
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11
                                              ~~
12 3.           Plaintiff's name is ~~'~ ~ ~~~~            ~'         .Plaintiff resides
13    at:                 ~ ~.~   ~                   ~         ~~~
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18              4. Defendant      (1(~~(~(~j~ ~ ~n~        ~S ~~~~~~                ~
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24             5. Defendant
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     Pro Se Clinic Form                      Page Number
     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 3 of 9 Page ID #:3



 1                             IV. STATEMENT OF FACTS
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             Insert ¶
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             Insert ¶ #
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     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 4 of 9 Page ID #:4



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     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 5 of 9 Page ID #:5



 1
 2
                                        V. CAUSES OF ACTION
 3
 4
 5
                                   FIRST CAUSE OF ACTION
                        ~~ ~{1-~ ~ ~ ~ ~            ~                         )
 6                                       insert title ofcause ofaction

 7      (As against Defendant(s):                ~~~~;~,~~~
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     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 6 of 9 Page ID #:6



 1                             SECOND CAUSE OF ACTION
 2
              `~ _—      -"'        insert title ofcause ofaction
 3
        (As against Defendant(s): ~(~(`OiZC~ : In C~.
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            Insert ¶ #                             ~          ~     .'
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     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 7 of 9 Page ID #:7

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 1                                    CAUSE OF ACTION
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 3      (As against Defendant(s):           ~~             ~ ~n
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20        Insert ¶

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     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 8 of 9 Page ID #:8



 1                             VI. REQUEST FOR RELIEF
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 3   WHEREFORE,the Plaintiff requests:
 4                              ~,~,V C~ ~~l(~S                             ~~c n~-~-~~
     Insert ¶ #
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             ~.   ~-~~C                  ~             ~~2 h                  ~
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10   Insert ¶ #

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     Insert ¶ #                                                    ~                   J
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21   Insert ¶ #

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26                                 Dated: ~~ C~ ~'V~ 2~ ~~l9'
27                                 Sign.
28                             Print Name: ~~(~~p ~ ~(~a~1



                                         Page Number
     Case 5:19-cv-01353-JFW-SP Document 1 Filed 07/23/19 Page 9 of 9 Page ID #:9



 1                         DEMAND FOR JURY TRIAL
 2
 3        Plaintiff hereby requests a jury trial on all issues raised in this complaint.
 4
 5                                   Dated: ~                  Zj   ~
 6                                   Sign.                                    ~-.
 7                            Print Name:         ~C~Q~
 8
 9
10                                      4831-5981-9291, v. 1


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